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AFFIDAVIT OF BRANDON CUMMINGS

STATE OF NEW MEXICO )
) ss.
COUNTY OF BERNALILLO )

Brandon Cummings, being first duly sworn, and upon his oath, deposes and states:

1. I am competent to make all of the statements contained in this affidavit.

2. All of the statements contained in this affidavit are based upon my own, firsthand
knowledge.

3. I have been acting as Dana Jarvis’s power-of-attorney and assisting Mr. Jarvis

with business and property matters while he is incarcerated.

4. Following James Lambros’s arrest on September 13, 2006, I have been working
on handling matters related to Harlow’s on the Hill, formerly known as Club Rhythm and Blues
located at 3523 Central Ave. NE, Albuquerque, NM 87106.

5. I have contacted Vincent Marchiondo, a real estate and liquor license broker and
he has located a potential lessee for both the liquor license and the property. This lessee is
willing to pay $6,200.00 per month, which is an increase of $600 a month over the previous
lease. The initial payment would include the first two and last two months.

6. I have notified the New Mexico Alcohol & Gaming Division that business is not
being conducted at the property presently. The liquor license has been placed in “voluntary
suspension.”

7. Prior to re-leasing the property a “UCC Check” must be done to determine
whether money is owed by the former lessee on equipment in the building; a “debt clearance”
must be completed showing that the former lessee does not owe any money to alcohol

wholesalers; and a “tax clearance” must be completed, which will show any tax monies owed by
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the former lessee.

8. These checks and clearances are required by state law and would have to be done
by any party transferring or leasing the liquor license.

9. I am actively working to complete all of these checks and clearances.

10. Any money owed by the former lessee would be deducted from the initial
payment received from the new lessee. In essence, Mr. Jarvis would be paying any money owed

by the former lessee that would prevent the property and liquor license from being re-leased.

FURTHER AFFIANT SAITH NOT.

SUBSCRIBED AND SWORN TO before me this ( 7 day of Sep emiber, 2006 by
Brandon Cummings.

NOTARY PUBLIC

My Commission Expires:

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